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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS


 CRAIG CUNNINGHAM,                                 )
                                                   )
                Plaintiff,                         )
                                                           Case No. 4:18-CV-00747-ALM-CAN
                                                   )
 v.                                                )
                                                   )
 JEFF LAKES; RAMSEY FINANCIAL                      )
 SERVICES, LLC,                                    )
                                                   )
                Defendants.                        )
                                                   )


       JOINT NOTICE OF SETTLEMENT AND REQUEST TO VACATE THE HEARING
                     FOR DEFENDANTS’ MOTION TO COMPEL

          Defendants Jeffrey Lakes (“Lakes”) and Ramsey Financial Services, LLC (“Ramsey”)

 (collectively, “Defendants”) and Plaintiff Craig Cunningham (“Cunningham”) hereby submit this

 Notice of Settlement notifying the Court that Plaintiff and Defendants have agreed to enter into a

 settlement of this action. The Parties will file a joint Stipulation of Dismissal with prejudice as

 soon as they have a fully-executed agreement, which the parties expect to occur shortly.

          WHEREAS the Court has set a Hearing on Lakes’ Motion to Compel in this action for

 May 30, 2019 at 2:30 p.m.;

          NOW THEREFORE, the Parties respectfully request that in light of the settlement, the

 Court vacate the Hearing on the Motion to Compel.

          DATED: May 29, 2019




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        RESPECTFULLY SUBMITTED:

                                             /s/ Sharon A. Urias
                                             Sharon A. Urias
                                             AZ Bar No. 016970 – Pro Hac Vice Admission
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                                             Attorneys for Defendants Jeffrey Lakes and
                                             Ramsey Financial Services, LLC


                                             /s/ Craig Cunningham (with permission)
                                             Craig Cunningham
                                             3000 Custer Road, Suite 270-206
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                                             projectpalehorse@hushmail.com

                                             Pro Se Plaintiff


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 29, 2019, I electronically transmitted the attached

 document to the Clerk’s office using the CM/ECF System for filing, and for transmittal of a

 Notice of Electronic Filing to the following CM/ECF registrants:


 Craig Cunningham
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 Plano, TX 75075
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 Pro Se Plaintiff

 /s/ Rachell Chuirazzi




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